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                               1:19-cv-05636-SDG
                        FIMIC, S.r.L. v. ADG Solutions, Inc.
                          Honorable Steven D. Grimberg

                Minute Sheet for proceedings held In Chambers on 08/03/2021.


    TIME COURT COMMENCED: 10:00 A.M.
    TIME COURT CONCLUDED: 10:15 A.M.            COURT REPORTER: Alicia Bagley
    TIME IN COURT: 00:15                        DEPUTY CLERK: Alisha Holland
    OFFICE LOCATION: Atlanta

ATTORNEY(S)      David Caves representing FIMIC, S.r.L.
PRESENT:         Dean Fuchs representing ADG Solutions, Inc.
PROCEEDING
                 Telephone Conference(Other Proceeding Non-evidentiary);
CATEGORY:
MINUTE TEXT:     Teleconference held regarding discovery dispute submitted by Plaintiff to
                 the Court pursuant to its Standing Order. Plaintiff's request to limit the
                 deposition of Erica Canania is DENIED. The Court ORDERED the
                 deposition to go forward.
